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MAR 19 20165 -

CS: P-~ CORCORAN ~ Y8-2L-4/f

A a CENTRAL DISTRIGT O CALIFO
PO. BOK 3Yb/ BY . Denne

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CLERK, U.S ‘DIS
K, U.S. DISTRICT COURT
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David Ll. CONC- FAR-23225

  
    
 

 

CORCORAN, CA. GB2I2 ee
[4 ~ PRO- PER -

UNITED ~— STATES. DISTRICT CObeT
CENTRAL OLSTRICT OF CALIELIN IA

 

 

 

 

 

 

OLVIO LENS , CASE MoO 3215-CV-00536 RT(KK) |
PUNT UFE : \.
wi PLAINTIFFS COMPLAINT FoR
DAMAGES UMOER [92 USC.
NORMA, BLES , 67 AL: I/SI83 AND 19 ESL Wh/ 7 ff
REQUEST FOR WURY TRIAL

Y
CLERK, U.S. DISTRICT cougtT }

 

WTIREDUCT ION. MART T 20)

 

 

 

 

CENTRAL DISTHICT OF CALIFORNIA
BY DEPUTY

 

- FHS /S 4A CW RI GATS: ACTION CONGPLAINT Qh DANMAECES PRIS/NG.

CNOEK THE COUSTITUTION OF THE UNTEO STATES. PRETICULAILY © JHE
FIRST , FOURTH, EIGHTH , AWD POUR TEENT ES ATEN OLIENT JO Jing COM
STITUTION OF THE MTEO STATES, ¥2 US.€. $1983 Ail PPS.

AULECIIVG- THE HOLRTION OF PtAIN TIPE COWS TIFOTIOUAL . CVC. AND
Hittin! RIGHTS , BRETER DEFENBINT § PLES O , BEL CAD0 CR ANTAS , HARE
HNO GONZALES CONSPIRE TO ARREST pt TIEP FOR (A MURDE R Awd

(Q) ArrenirTED Ko GBERY CF ALCECED werin CUNEO IF, CH JHE COUNTY GE

SAV BEINEROINO |, CASE MO. FVA 7/0021 F. PHS FEOERAL CNIC fl BITS:

 
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Claim ALLEGING (1) FALSE ARREST FOR MUROER AO ATTEMPTED ROCBERY,
VLIINTUF CONG, ALLEGES JHAT DEFENDANTS PLEO, BECCA OO ~LRAMPS,
HARE , AO GONZALES VIOLATED HIS FOURTH AWD ELC TH AAIENMENT
RIGHTS, OF FAIMING FO Keep PLHINTIEF PEE FIONT A FRESE fytttes 7.

MLAUWITIEE AELECES THOT DEFENWOPUT AUEIO BO FRIED FO
Frorvect, PlAWTIFE FROIA DEFEVO ANTS DECCAOO ~ ORPIAS , Mee”, BaD
CONZHLES FASE ARREST FOR JWROER AVE ATTEMPTED ROGBERS.

MANTIFE ALEECES THAT DEFENOMUTS DELGHOO-~ORBANIAS , bfpOE,
PNO GONZALES , QO ft AGSOL OFELY PATHETIC Fig Supetes tint 08
PUVESTIGATING = 74E” ABOVE REFEREWCED NWADER ANVO Arreni07
ROBBERY.

HHINTIFE BLLEGES THAT DEFENDANT PLEO, BO PleTICIVATE|
[A DEFENDANTS YELECHOO” ORAMAS , iE, ANDO ECOzAt ES, FASE
PRREST = PIS CONSTITUTES A MPLICIOUS PROSECUTION.

AT All FiantS RELEVANF MENTIONED p PES TLEY ACE ULTTCD

PLAINTIFF OF FHE NURDER AO ATTEMAT ED KROCBERY COUNTS .

 

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YURIS DICTION

2 THE SURISDICTION GF FHS COURT 7S WW¥CKED LUkSUANT Fo 2F
USCS GS BIS ©), Abith CLVES FHS COURT ukiSolCzrON WER
MPTTERS COUCERNMMIIG. FHE BPRIWATION CF CONSTITL COWL “PE

CIVIE RIGHTS CURRANTEEO OY USC. EF /IF2 Avo /29SF,

PARTIES

Ao MAUITHE ORVIO LOVE, COCR WO.*AR-~2326 JS a SUKI CAL MALE

AOULT ae FLESENTEY BEING OETANED 97 COKCORAN STATE RISOM,

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P 5:15-cv-00536-PSG-RAO Document1 Filed 03/19/15 Page 3o0f17 Page ID#:3

20. BX BY81, CORCORAN, CAtiFopMA 93212;

% DEFENOINT woRMa ALEJO 1S 4 DOERUTY LUSTICT BITONEY Foe
THE COUNTY OF Sa BERNARDINO , SUE CS SUEO fal HER dunt IN O1V1O —
VAL CAPACITY,

5S OEFENOANT BantEl BECCHAOO GKANAS , 1S A FON CIDE: DEFECTIVE,
Aro ASSUGNED JO JHE FONTAVA POLICE DEFPARIMIENT , PLE OS S060 Po
HS OWN WOIVIOUAL CAPACITY,

G. DEFENDANT SHIN HARE, /S A HOMUCIOE DETECTIVE, AO PSSTENED
70 7HE FENTENA POLICE DEPARTMENT , HE 1S SUEO DU ff/S Ott VO W/o J
UAL CAPACITY,

7. OLFENORNT MARC GOWZALES, 1S A honncweE LETECT IVE, AND ASSIONED
70 THE FONTANA POLICE QEPRIOTIIENT yp HESS SUEO fi PAS Ct CN OM OUFL
CAPACITY,

6 O0ES twe() THROUGH (10), EACH OLEENOINT(S) ARE SUEL PV SYS

Oh “ER OFFICIAL ANO /VOIVIOVAL CAPACITY FOR THEIR FAILUCE JO

 

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TRAM PND SUPERVISE DEEMOFNTS , ARO FEY fee fv Some AnAnnEd
RESPONS/GLE FOR FE ACTS OR CDUSSIONS ALLEEED,

 

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G AT PUL TIMES MENTIONED PEREDNV LACH , AVO HE , QDLEFENDAVT'S,
WERE ACTING UNOER FHE Color OF STATE CAL .

STATEMENT OF FACTS

 

10 AT ALL TIMES RECEVONT MGENTIOVE? , ZEBINZIER Ws Conpin&D Ar
THE WEST VALLEY DETENTION CENTER , OM A UNRELATED CRIME,
Ll, ON SPNUARY 27,20//, AT AYUPROMMAATECY G00 PO P< ¢0 fn), Sas~

. - /

WERE WW ® 747700 FARCE PC FONTAN. JHE THO WwAD 40

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MONEY AAO NWO (LACE JO STAY FO FE MEET AO BGO
TRYING. To CET 4 Me7El ROOM,

(2. JHE +Wo APPROACHED FB FASPANIC MALE, (OENTIFIED AS
CARLOS PINEOR biYt0 yd RIODEN FO JHE PPR OR Onl AS EVCKYCEE,
AD OFFEREQ FO PERF Ci SEXUAL FaAvaRS foe “tlt, FRE FHREE APENEDS
THAT, inf ExX@H4AnCE , PINEDA WOVLO OBTAIN A REOn 7 OHO CV fEL
72 7H#E Valcey anpzTel, COCATED On ya LEY GOMLELARD Py Soman
LOLIFORN) A p WERE fUNEORW PAP FOR? yo WE COVEN REONF 275, |
(3. SUSPECT VARGAS ALS° RECISTEREO pl THE ROOT, eno Pid
NAME “Aon @VE COPET, . Vinee as AIECOMPAVIED PIVED4A Fo FE ROOM
Ania SUSPECT PYERRERA. SONMWED JHENT Sto AFTER

19. MIEN THEY GOT FO THE C0011, SUSPECT KOR GAS FURVED OQ Fre
MR COND TIONEN. 7p COMM LFS BROKE .

45. APP fo YIM ATELY (7 5S) PUWUTES BRFTER ArehtviN GC ~ FARGCEAS SPIO

PINEDA LENT Fo FHE LIOUK STORE To BUY PERSONAL PIV OVEN E

 

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PRODUCTS , WHILE SUSPECT PERRERA STAYED pal JHE ROon , PETER

TYEY RETURVEO FO 7FHE ROG, fala AF TE 2 SusPECTS VARCAS Alo

 

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HERRER GE FO0K SHOWERS , THE FYREE OF JHE BEGAN FHLKICG.
ABOUT ORVECS,ANO SUSPECT V4ARECAS GAVE puNleor Some RVSTAC

METHAIRTPHETANMUNE THAT SHE HAD CEEW CAR VOC.

 

 

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/t. AFTER THEY Sanka ¢7, THE AGREED FHqT PINEDA. World BUY
Some MORE METH BIMPHETAMINE , SO SUSPECT CALLED A Fa VED , WHO
GAVE Hirt SUSPECT PEWIX'S NUMBER, SUSPECT VARGAS CALLED SUS-
PECT PENIX , WHO AGREED Fo BRING #50 OF DRVGS OVER JO Fue
MOTEL ROOM, AWO STATED FHAT PLAINTIFF AULD DAWE ha FO 77fE-
MOTEL.

(7, HRCOROIWG 70 SUSPECT CLERRERA , SHE ABD n1Er YYAINTIFE A

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4UTEL 00M.

19. WHEW PLAINTIFF ANO SUSPECT PENIX y C40 LAS byw EPiING- 72 CAST

by AS RIGCET bfAavo 7p FRRWEO Fr Fb ROOT AVVO ASKED FOR STONEY
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LINEOKA FOLD Jem FHAT KE 010 NOT CPIAVE LY CASA OV fr? So
a

J) AFTER THEY RETURVEOD, APPROXIMATELY FIVE TO FEN AIRVTES CA7¢
PINEDA. GAVE PLAINTIFF THE MnoNey Ayn PLAIVTIEE CAVE PINEDE THE bhusly.
20. SUSPECT VARGAS THEN ASKED PLAINTIFF IF HE COULD CIV” Ben
A RIOE 70 CET Ae PURE yes LU CES FO SIWVOL EE PYE AMIETKH AMO (9 —
ETAMIVNE , AVO FHE FW OF FE LEFT FOR A CAS Svar AMD
CRNVENIENWCE STIRE MW A LMHTE” TRUCK .

2l. OW THE way , SUSPECT PARGAS , STOPPER AT FHE AETEL OFFICE Ang
SPOKE ABOUT FHE AUR COWOITIONER Fo FHE MAVACER , Wyo AGREED

 

 

 

 

 

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14 7® SW7TcH HEI? KOOrHS.,

15 || 22. AFTER SUSPECT VARGAS AND PLAINTIFF RETURIVED 7O THE hoom
16 || THEY, SUSPECT PENIX , SUSPECT HERRERA ANO PINEDA BEbAN Smart
17 Hh &mve- METH AIAPHETANUINE AVD WHTCHISC PORMOECRAFIF Y OF PHE Pele
18 || yiSton/.

19 || 23. PlLAIWTIFF Got Up AriO STATED FHAT He NEEDED Jo 60 LRP GE
(20 |} Some ORVGS, So HE And SUSPECT HERRMNA LEFT JHE Roorg.

21 1124. ACCORDING FO SUSPECT HERRERA, SHE AND PlAINTIFE Wer Fo

22 A FMOVSE On CYPRESS pas FONTAWA yp €HERE THEY PICKEO YP AN UA /—
23 PENTIFIED MALE InNDIYILUAL , THEM WENT WITH Fla TO THE SKY

24 |) YWieEw MoTeEl , LOCATED ON VALLEY AWD fALMETTO p PEPROEXIMAATELS A
25 || MILE OR Two FROM THE VALLEY MoTEL To DROP Him OFF.

26 1)25. WHILE FHERE 7p SEVERAL POLICE ARRIVED AND ARRESTED SLYIWITPE :
27 || OM OTHER ChimwAl CHANGE S | Nor RELATED TO MR, PINE OF. ,

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26. AS PLAINTIFF ANO SUSPECT HERRERA » WERE GEWWE- STEPPED
. “4

d.

 

 

 

He, PENX, AMO PERIWWITILE Went FO 7 AUTOMATED TELLER Mittin bra)
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PLAWTIFF FOLD SUSPECT HERRERA THAT THE CAR WAS ALLECEOLY
STOLEN, ANDO 7TRIEO Fo CIVE A KVIFE FO HER, WHE [VSTEAD PLACED
IT UNDER THE SEAT OF THE TRUCK,

27. (NW ADDITION, FOLLOWING PLAINTIFE'S PRREST yp FOUCE SOSERV-
ED SEVERAL GALLS OW PLAINTIFFS CELL. PHONE, Lif 7H SUSPECT PENIKE
‘WAIVE OM THE CALLER 7d.

28. SYSPECT HERRERA, REMMNED AT TiS MOTEL Fok AGOVT AW spouse
To AW HOVR AND A HALF p CYEN STARTED WUNLKIIC BACK JO FHE
VALLEY MOTEL, WHERE SHE SAW SUSPECTS VARGAS ANDO PENIX,

29. WHOM SUSPECT HERRERA PESCRIBED As “WORRIED Avo “SCARED,
RUNNING TOWARD THEM.

50 BEFORE PLAINTIFF CEFT , SUSPECT PARGAS ASKEO PINEDA-~ Yr
SUSPECT PINK COvLO STAY, ANO KLINEDA SAIO 1/7 wAS FINE,

3). PRIOR To leavin FHE- ROOM, AMO WHYLE PINVED, bas JAKIVNG

A SHOWER , SUS PECT PARNER SAW SUSPECT PEN IX OIGGMGC JHROUGC HH

 

 

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PISEDA'S BAG AO PRCING AND bWIPING DOW A CHBIR WITHA HS

BAYOANA , WHICH SUSPECT HERRERA ) THOUGHT LIAS USVUSVAL,

 

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B32. SUSPECT PENIX ALSO FOLO SUSPECT HERRERA FO UNWPLUC FHE
PHOWE , AND SUSPECT HERRERA. COMPLIED.

33. SUSPECT PENIX ALSO GOT OWT PINEDA 'S BRIEF AIO FOLD SuUsS~

PECT HERRERA THAT 17 WAS “COOL And TFHAT WE WAS COING FP
TAKE 1/7.

BY, NEITHER SUSPECT 3 HERRERA NOR VARGAS EVER HwERRO fUbITIFA
DISCUSS STEALING AY THING FRreta PIVEDA, AND WETHER SAW
PLAISTIFE W/TH AE CUA .

35. AFTER PLAINTIFE AND SUSPECT LERREP. LEFT, SUSPECTS Vehéns|
PENX ANG PINEDA CouTINVED FO SIT IW THE ROOM, TALKIE.

PND WATCHING PORNOGRAPHY .

 

 
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3G. Suspect penix LEFT THE Room, BUT RETURNED AGOLT FIVE MINUTES
LATER , TELLIVG SUSPECT YARGAS THAT HIS CALL TO PLAINTIFF HAD CONE
Te Velce Male

37. Suspect SAT OW OWE OF THE Two BEDS oF me eee LIAL
PINEOR WAS MASTURBATION THE OTHER GEO, ANO TELA sus~
PECT VARGAS THAT HE HAD PINEOA'S PERSONAL (OENTIFICATION
wymper (piv)

JB. SUSPECT AREAS WENT FO THE RESTROOM AND, WHEN SHE CAME
OVT, SHE SAatU SUSPECT PEWIX STAWOMWE BY THE RESTROOM LOL
WITH A GUM Ws HS Hana.

3T. Suspect PENIK FOLD SUSPECT VARGAS THAT HE WAS COI

7@ COME YP OFF PINEDA, WHO COVLOD NOT SEE Him FRon4 StS
VANTAGE” POIVT, WHICH SUSPECT VARGAS [W/TER PLETED AS
INDICATING- THAT SUSPECT PENX WAS GOUIVE Fo Loe SAI).

YO. SUSPECT PEN/ XC WAL KED — OVER Fo PINEDA, WHE WAS CWI Cc

 

 

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Wl BED , POITEO THE GUN, Alla FOLD ICT FYEDA Jo FUR

WER Ow pwIS STOMACH,

 

 

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Af. VICT! / Z
YW. VICTIM PINEOA PUT “# S HAWOS UP , BVT Copyyzineeo FO LAY
ON THE &ED » SUSPECT VARGAS FOO prC7(n4 LO SOHWMUIS tf y Fe

CM down AO TURW OVER ,
Y2. HOWEVER , WICTING PEN EOA WALKED OFF THE CEO p FOCARO
SYSPE: tT PEW(X ty Ho WAS INIT ALE ¥ APPROXIMATE) Y SEVEN FEES
fay . AS HE O10, SUSPECT PENIX CECA Wate BACKWARDS,
POWARDS TFHE DOOR OF THE MOTEL ROOM, AVO FELD Vvierind Aywe-
E0R 7° CET SACK.

Y3. AS SUSPECT PEW/x Gor Te THE DOOR, YroriN PIMEOR MALKED

VP fe Him, REACHED TowARo SYSPECT PEN TY, AVO PULLED THE BUN,

YY AS VICTI« CINEOA , 010, 7HE CUN WEnze OFF, AND Suspecy

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VARGAS Sav BLOOD CominG Out OF PINEDA'S BACK.

YS. ACCORDING FO THE CORONER'S OFFICE ,VICTIA PINEDA LIED OF A
GUM SHOT WOUND Fo THE CHEST, WiC ENTERED AT FHE CLEFT
NUPLE ANDO EXITED FHROUGH THE LICHT COWER BACK , PASSIWGC-
THROUGH THE LEFT AND RIGHT LUNES, AVO FHROUEH FILE pfEART.
YO. DEFENDANT § ALESO, DECGAOO ~ ORANMAS yp HARE ANO CONZALES ,

FAILEO 7D PROPERLY MWVESTIGCATE THE MULOERANO ATTEMPTED

ST PLAINTIFE.
Y7 UPOVS INFORMATION AND GELIEF y QEFENOAINTS ALESO , DEE CAO
ORAMAS , HARE ANO GONZALES (wel FHT, fALTIE/ WAS [NaH
OCENT BY VIRFUE OF SUSPECT PENX S STATEMENTS JO /bLICE

AYO PAYSICAC EVIDEWCE LE@wWoIwé- FO A LECAC FACT THAT, A
PERSON OTHER THAN PLAINTIFF WAS RESPONSI LE POR Five WV ROER

AVQO ATTEMIPTEO ROOCER v

 

 

 

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YF DEFENDAY TS ALESO ) DELCADD ~ PRAMAS » FUILED Jo fwreS7~
IGATE STATES FORENSIC CVVOEW CE, AVVO OTHER PRAEE AION T s

ROBBERY OF VICTING PINEDA » PRIOR FO CRINDWAL CKBAGES ACM i+

 

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OF PHYSICAL EVIDENCE AT FIFE CRINIE SCENE WICK RESUL 7EO
Wl A FALSE PROSECUTION CAINS T PLAIWTIFE.

ORAMAS , HARE ANDO GONn2ALES kwWEW THAT, AFTER TUE SHOP
INS , SUSPECTS PENIX ANO VARGAS [CFT THE Me7El RO0%g, AWD
Rat TOWRO gn “Ame CONVENIENCE STORE.

50. OW THE WAY, SUSPECT PEWIX JFO®k 4 ORST BKK OF HIS Aen,
Aso THREW /7 Iw FROWT OF A EVILOING.,

51. FURTHER DOWN, THEY MET SUSPECT HERRERA, WHO HO ClEET

THE SKY WiElY MOTEL AT WHICH PLAINTIEE Hag SEEN ARRESTED.

2. SUSPECT VARGAS OLD SUSPECT oy} °
Re Te . —-: sap
5 HERRERA THAT , SUSPECT Penix,

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ALLEGEDLY SHOT VICTIN PIVEDA WW FHE ETZEL ROO, KHEKEUPO/
SUSPECT PENIX LEFT ANO BEGCAV A4ALKING COW PALMETTO .

$3. Suspecr PENX ALLEGEDLY CHLLED SUSPECT VARGAS , WO THEN
ASKED SUSPECT HERRERA FO RETRIEVE A CUNY Ww FROWT OF (PE
CUSHES — OF THE Lo CAL KAYSER PERMAWVENTE @U7 SUSPECT HERR ~
ERA REFUSED.

SY, SusPeEcTt PENIX WAS LATER SEEN VERT Jo A CARCE TRASH CAN
OR BARREL, WHICH was On FIRE.

SS, AccorOIvNG Fe fPeucEe, JEROME A4AL VEAUK , UHO AS plore?
Above RESIOED WITH PLAUSTIEF yp TO JHE JHAT SUSPECT PENIX +/AO
HAO. CuT OFF HIS CAST AND Fr/ROWd SACKET AVI SUE O7WER
[TEMS IW THE CAN OR GARREL', THEN SET THER OW Fir &, zreee
PETER, POLICE WENT FO THE AREA, AO LOCATED A GURNT CAST
IN THE BARREL.-

66. Following HIS ARREST, AND THE WAIVER OF HHS ATIAVOA

 

 

 

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AIGHTS, SUSPECT PENIX WAS INTERVIEWED Sy POLICE.
37. DVRING- THAT INTERVIEW , SUSPECT PENIS OMITTED HAVING -

 

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AWD LATER DISPOSING OF THE GUN, GUT STATED Fuar [7 ltUAS
ALREROY THERE WHEN HE AND PLAINTIFF ARRIVED,
O§, However, SUSPECT PENX, INET ALLy DEWED SALOO ri Ore
ATTEMPTING FO ROE VeTIm Piel A., ANO STATED THAT HE /vs~
TERO Henkd A SHOT WHILE HE WAS Jw THE BATHRCOI , Arlo O10
-NoT knw ffolu Fe FIRE THE GUN.

54 ATER, SuSpECT PEN/X , STATED THAT Vering FINCDA , COT
ANGRY AT Aire whens PENI REFUSED Fo Give VCTINg Piseon
Monty, THAT PINEDA WENT FOR 7HE BUN AD (UNEED Ar SUSPECT

PENIX ) AND WHULE FHEy mere PICH TING OVER THE Bu , (7 ERS

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OFF,

 

 
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GO. SUSPECT PEAS ALSO STATED THAT, SUSPECT HERRERA- TOLD +417 |
THAT PLAINTIFF HAD GEEN ARRESTEO FOR CARSACKISC- Ofe VEHICLE
THEFT , AWD THAT PLAINTIFF WAS NOT PRESENT OURIVCE- THE
SHIOTING « .

Gl. AT AlC TIMES REF ClUANT MENTIONED, DEFENDANTS ALEDO,
DECGADO — ERAMAS, HBANE AWVO GONZALES ,KVEW FHT LAI TIFF
Hito FLREAOY LEFT JHE ROOTd, AO WAS WET PRESENT WHEW JHE}
MRO OR ATTEIAPTED ROCBERRY OCCURED. JFWIS CONSTITUTES 9
MALICIOUS PROSECUTIONS AO FALSE” ARREST, LIHEN JIE fVOOS ECVUTOR
4S PIO LOhV/CER INTER ESTEO WW SUSTICE-

62. UPON WFERMATION ANO BELIEF, DEFENOANT ALEIO, ACTED
tUITH MALI CIEUSWESS , VLIMOICTIVENESS , AVO IW FASHION tybithe DE~
PRIVED PLAINTIFF OF -US EVGHTAL AMENOIIENW 7 RIGHTS, MOT Fo
BE CHARGED WITH A MUROER FtO ATTEMPTED ROGBERY pHAT, PMN —

TIFF CLEARLY WAS NOT /WVOLVED WITH SAID CRIME:

 

 

 

 

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63. OF EMANTS ALESO 7, CECGAOD ~ ORAIMAS , HARE, ANDO COWZALES y LO
CovSPIRE To DENY PLAINTIFF OR HIS DUE PRECESS CLAYSE” OF Ife

 

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First, FouvrTH, EIGHTH 61AN0 FOURTEENTH AMEN OIGENT S .

6Y. AT ALL FIMES RELEVANT MENTION EO, CEFENOANT ACEJO WO ODES .,
PROSECUTOR S ARRESTED PLAINTIFF FOR MURDER ANODE Emp TED KObB-
BERRY WUWITHOUT DUE moles OF lAlW

65. ALTHOUGH a ISOLATED INCIDENT » DEF ENOHNST | 4LEIO) pr d
DOES , PROSECUTION CONSTITUTED OFFICIAC MUNICIPAL POLICY FPR
PULPOSES OF ¥2 USC. VAS 3 AWI 98S BECAUSE DFENLAVT ALESO ,
PCTED UNDER DECEGCATED FIVAl POLICY MAKING SIUTAORTY

Gb. DEFENDANTS DOES AND LEFENOANT ALEYO, HAO DELECATED pis-

CRETION, RATHER FHAN DELECATED Swerve 7Y, PECHUSE prER

DECISION FO PROSECUTE THE CASE WAS COWS TRAIVED BY POLICIES

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70. PLAINTIFF LONG HAS BEEN PERMANENTLY (NJURED BY BEFEMOANTS,

Not oF HER OWN MAKING AND WhS SUBJECT FO REVIEW BY. SUPERVISORS .
67 AT ALL TIMES RELEVAYT MENTIONED, DEFENORNTS ALEJO, Does y
DELGADO —okaMtAS, HARE AND GONTALES, DID AN ABSOLUTELy PATH —
ETI, Ap SUPERFICIAL Yok MVESTIGATIVE SHO MUROER AYO ATTEMPTED
ROBBERY y WHICH RESULTED IN PLAINTIFF'S FALSE ARREST WITHOUT DUE
PROCESS OF LAW

GS. Does , WERE SUPERVISORS ~ DISTRICT ATTORNEYS OFFICE PERSONNEL
WHO FAILED Te PROVICE PRO PER SUPERVISION OVER DEFENDANT ALEJO ,
WHICH RESULTED MW PLIAINTIFF'S FALSE ARREST FOR MURDER , ASO ATTA

EMPTED ROBBERY OF YVCTINg PIn/EOA-.

67. As a din "

RECT AMD FROXIMATE RESULT OF DEFENDANTS AlEYo, DOES ,
DELGADO ~ ORAMAS , HARE, AND CONZALES, FALSE ARREST Arla CRIMINAL
CORRUPTION AGAIIST PLAINTIFF , PLAINTIFE ConT! NUE Fe pERMANERT
FWD PSYCHOLOGICAL MUYRY FOR FEAR OF GETTING. 27 years je Lire,

FIYUS RODITIOVAL, VERS FOR A PRIOR.

 

 

AOMINISTERING- SUMMARY CRYEL AnlO UNUSUAL PUNISHMENT ON THE

 

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PLAINTIFF .

Tl THE CRIMINAL TRIAL ACTION WAS HELO Peon, APL/L GOT fe
MAY 22, 2013 |

72. ON MAY 22, 2017 JHE SRY ACOVITTEO PLYUINTIFF OF el
MUROER ANDO ATTEMPTED ROCBEERY, .

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_ FST CAVSE OF ACTION

AGAINST ALL THE DEFENOANTS
FOR FALSE ARREST FOR NIURDER
_ ANNO ATTENIPTED ROBBERY

 

73. ALM 7ULE RE-ALLECES AWD JW CORPORATE PfEREIV BY REECRENCE
EACH AANO Ei VERY ALLEECATION OF PRACRAP IS (A) FITROVELS G 72)
7¥. DEFENDANTS HLEIO, DELCHDO ~ OkANAS, HARE AO CONZALES ,
CONSPIRED FO SuGIECT’ PLAINTIFF JO A FASE ARAEST FOR PAUROER
flO ATTEmpren ROEBERY OF WeTIng PINEDA , CASE NO. FV A MOOUG,
WAS UNIUSTIFIED OR PERIUTTED BY LAW, VIOLATED PLAIWTIPE
RICHTS USCER THE EIGHTH AMe—ENOMENT FO THE Li TED Srav&s
COMSTITUTIONS 10S FHAT 17 CONSTITUTEO CRUEL ANNO be SUAL.

PUM SHIAENT.

SECOND CAUSE EF ACTION
AGHIVS T ALL QEFENOANT S

 

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FOR FABRICATED EVIDENCE CLAIM

IS. Planstire RE-ALLEGES yw INCORPORATES BY REFERENCE ALE
MLECATIOWS CONTAINED WW ALL PREVIOUS PARA CRAPFLES

7bo. DEFENDANTS = ALEJO, DECGAO@ ~ORAIAAS , A/ARE, Ano GOWZALES ,
PRE STATE ACTORS WHO FABRICATED Eli DEvee LURING A MMUROER
INO ROBBERY INVESTIGATION ,

77. DEFENDANTS ALEJO, DEL CAO O — EAS TIAS , HARE AO GOMCALES |
COVTINVED = THEIR NWVROER AD AT TEPAPTE. O ROGEERY COR GC ES

Told THE POLICE THAT, PUAINTIFE Wits NOT YNYOL VE HATS O EVER

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78. DEFEWOANITS plEso,, DELGAOO- ORAMAS , HARE AMO COVES,
DID VSE INVESTIGATIVE TECHNIQUES THAT WERE SQ COERC Ve~
ANO ” ABUSIVE” THAT THEY KNEW OR SHOULD HAVE KniPOW/YV

THAT THESE TECHMIGVES WOVb.O WELD FALSE WFORNMAT ION,
WHACH WOLATEA PLAINWTIFES SPOCRTH , EVCH TH , VO FEvrevttt ITE

BIMEN DIED 7

THIRD CAUSE OF ACTIONS
AGAINST DOES — SUPERVISORS

 

 

DISTRICT ATTERVEYS OFFICE ANO POLICE

7% PLAIVTIFF  RE-ALLECES AO pW/CORPORATES BY REFERENCE ALC
ALLEGATIONS ConTAINED WW ALL PREVIOUS FARA CRAPS,

$0. DEFEWOR WTS - DOES, ANO EMH OF PHEI, WERE EITHER RECKLESSLY

KKEW ABOUT FTHE YOCAT(ONIS AVO FAILED FO ACT xo PREVENT

 

THEM , PERSONALLY (V/VOLVEO PA THE WolATionw ys FAILED 7° FRAY

: : 7
SUPERVISE OR COWTROL SOBORAlAWITES, OR ENACTED POLICES WKICHS
WERE THE NOVING- FORCE FOR FOE COWUSTITUTIOWAL VIOCATIOre §

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OF FHE UNITED STATES OF ANEAl CA TWAT (HE FOREGCOIWG /S TRUE
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Case 5:15-cv-00536-PSG-RAO Document 1 Filed 03/19/15 Page 14 of 17 Page ID #:14 |

 

 

_ Date\Time: 2/23/2015 8:31:18 AM “CDCR Verified:
Institution: COR a Be
Inmate Statement Report
Start Date: 8/23/2014 Revalidation Cycle: All
End Date: 2/23/2015 Housing Unit: All

 

Inmate/Group#: AR2325

 

"THE WITHIN INSTRUMENT 18 A CORRECT
COPY OF THE TRUST ACO MAINTAINED
or colt COUNT MAINTAINED

) ATTEST: Qa/i 3/20/57

J CALIF NIA/DEP AR <a soy

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wtb bal 7
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__Pate\iime: 2/23/2015 8:31:18 AM CDCR Verified:
” Institution: COR ,
Inmate Statement Report.
CDCR# —° _Inmate/Group Name Institution == Unit Cell/Bed
AR2325 - LONG, DAVID COR © O4BB2LC1 ~~ 041001

THE WITHIN INSTRUMENT IS A CORRECT
$0.00 - GOPY OF THE TRUST ACCOUNT MAINTAINED

 

 

 

 

 
 

Current Available Balance: . : at BY THIS OFFICE,
: Seana arrest: 0.2 /as /2oss—
Transaction List : f artes yp PARTMENT OF. ep oh
Transaction - BY <6 pL
Date Institution Transaction Type Source Doc# . Receipt#icheck# . Amount ‘Account Balance

 

**No information was found for the given criteria.”

|Encumbrance List
Encumbrance Type ‘Transaction Date _Amount
*No information was found for the given criteria.**

| Obligation List

Sum of Tx for Date

 

Obligation Type. Court Case# Original Owed Balance. Range for Oblg Current Balance
COPY CHARGES » oe $0.40 ~~ $0.00 - $0.40
COPY CHARGES “12/10/13 COPY $12.90 | $0.00 $12.90

 

| Restitution List

 

. Sum of Tx for Date
Original Owed Balance Interest Accrued Range for Oblg . Current Balance

$280.00 $0.00 $0.00 $280.00

Restitution Court Case# Status

RESTITUTION FVA1100219 Active
FINE
Case 5:15-cv-00536-PSG-RAO Document 1 Filed 03/19/15 Page 16 of 17 Page ID #:16

E. REQUEST FOR RELIEF

I believe that I am entitled to the following specific relief:
WHEREFORE, PLMNTIEF PRAYS FOR THE FOLEOLINE. RECICE Abas?

All DEFENDANTS , BOTH SOIT bY AMO SEPHRATELY ~

(A) JvoGEeMeEenT ACHNST. DF EMOANTS FOR _ ACTUAL DAMAGES fl AN
AMouwT OF (2) MILLION DOLLARS Fe CE PROVEN AT_JRIAL.

(B ) JYOGEMENMT AGAIVST DEFENOANT S FER PUNITIVE BAONAGCES (N FOE
AMOUNT OF & 250,000 70 GE PROVE AT TRIAL

CC) JUOGEMENT AGAINST DEFENDANTS FOr THE CE87 OF zens cove’

ACTION, PLUS REASONABLE ATT ORNEW S_ FEES , AS fROLIOE BY $2 WSC.

— (SIF SG BY
(0) Such OTHER AND FURTHER RELIEF Fe Witt PLAINTIES MAY BE

ENTIT CED

Z JECLARE- U0ER PENALTY GE PAJLURY UNGER Tipe

LAYS OF FHE UNITED STATES OF AMERICA SHAT PE FORE COWG.

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CIVIT-RIGHTS COMPLAINT
Case 5:15-cv-00536-PSG-RAO Document 1 Filed 03/19/15 Page 17 of 17 Page ID #:17

NAME, ADDRESS AND TELEPHONE NUMBER OF ATTORNEY (S)

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

Dave LONG

PLAINTIFF(S),

 

 

Vv.
AlORMA ALENO ET.AL

PROOF OF SERVICE - ACKNOWLEDGMENT

DEFENDANT(S). OF SERVICE

 

I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of
K1V& , State of California, and not a

party to the above-entitled cause. On_‘@Q } MY ,20_1S° __, I served a true copy of

 

by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for person(s) served. Attach additional pages if necessary.)

Place of Mailing: C:S:-P- CORCORAAL
Executed on a] / 7 _ ,20_[> at CoRCORASL , California

Please check one of these boxes if service is made by mail:

C1 I hereby certify that 1 am a member of the Bar of the United States District Court, Central District of

California.
C Thereby certify that ] am employed in the office of a member of the Bar of this Court at whose direction the

service was made.
(WI hereby certify under the penalty of perjury that the foregoing is true and correct.

Bib fon

Signature of Person Making Service

ACKNOWLEDGEMENT OF SERVICE

I, : . wo , received a true copy of the within document on

 

 

Signature Party Served

 

CV-40 (01/00) PROOF OF SERVICE - ACKNOWLEDGMENT OF SERVICE
